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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  ARBUTUS BIOPHARMA CORPORATION            )
  and GENEVANT SCIENCES GmbH,              )
                                           ) C.A. No. 22-252 (MSG)
                        Plaintiffs,        )
                                           ) CONFIDENTIAL
                 v.                        ) FILED UNDER SEAL
                                           )
  MODERNA, INC. and MODERNATX, INC.        )
                                           )
                        Defendants.        )

       LETTER TO THE HONORABLE MITCHELL S. GOLDBERG REGARDING
                                                    (D.I. 184)

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 Dear Judge Goldberg:
                      discovery demands far exceed any sense of reasonable proportionality. After
 failing in their initial attempt to end-run around Delaware limit of 10 ESI custodians, D.I. 142,
 6:23-8:3, Plaintiffs have not only requested samples from all                                      but
 now also seek (i) all commercial contracts and sales data, worldwide across the entire company,
 ignoring the territorial bounds of 35 U.S.C. § 271(a) and (ii) regulatory files from essentially every
 IND Moderna has ever filed. But Moderna has already produced its COVID-19 regulatory files
 and broader R&D documents. Likewise,                                                                 :
 Moderna agreed to produce relevant documents provided Plaintiffs do the same. And Moderna
 has already produced more than 1.35 million pages
 than 525,000 pages. Plaintiffs are extreme in their demands, arguing tenuous relevance grounds
 that in no way justify their ever-                                                   denied.
        INDs for All Products. This case involves one accused product                   COVID-19
 vaccine and patents limited to certain lipid formulations. Yet Plaintiffs seek                  all
 [IND] Applications submitted by Moderna to the [FDA] wherein the proposed product comprised
         i.e.,                                        pre-commercial pipeline, which spans dozens
 of potential medicines and treatments (e.g., for HIV, cancer, Lyme disease). Ex. A, RFP Nos. 166-
 167.                                     of proportionality. And despite having no asserted claims
 to manufacturing methods, Plaintiffs, in particular, demand the manufacturing sections in those
 applications. Mot. at 1; Ex. A, RFP No. 166.
        Plaintiffs have the discovery needed for the claims and defenses in this case. Moderna has
 already complied with arguably overbroad demands for regulatory documents concerning its
 COVID-19 vaccine: producing more than 400,000 pages of filings, more than 220,000 pages of
 which comprised the COVID-19 IND. 1 Moreover, a
 terms hitting on over 300,000 documents including those related
 platform, several of which were applied to a decade of ESI from all 10 custodians, whose
 responsibilities were not limited to the COVID vaccine. Ex. C, terms III-02 & III-06; Ex. D at 2.
                                                               -commercial pipeline products is not
 warranted. First, the unaccused product cases Plaintiffs cite focus almost entirely on discovery to
 determine whether other products infringe. 2 Plaintiffs admit that is not their goal (nor could it be
 under the § 271(e)(1) safe harbor), instead arguing that the requested INDs are relevant to copying,
 willfulness, and/or damages. This is insufficient to establish relevance. LKQ Corp. v. Gen. Motors
 Co., 2021 WL 4127326, at *1-2 (N.D. Ill. Sept. 9, 2021) (denying discovery into unaccused parts
 where alleged relevance
 and distinguishing from Invensas). Second, Plaintiffs cite no evidence as to
                            , which is pure speculation. Mot. at 1, 2. Nor do Plaintiffs explain why
 the INDs would have relevant information that is not present in the COVID IND. Either Plaintiffs
 are contending that the requested INDs contain the same relevant information present in the
 COVID-19 IND and thus seek duplicative discovery or Plaintiffs are merely seeking leave for
                                                                            , which is an insufficient
 basis to warrant discovery. Micro Motion, Inc. v. Kane Steel Co., 894 F.2d 1318, 1326-28 (Fed.

 1
  Yet Plaintiffs refuse to confirm when (or if) they will produce a single regulatory filing. Ex. B.
 2
  The remaining case (Eli Lilly) focused on how the unaccused product differed from the accused
 product, not discovery into features that could be gleaned from discovery into the accused product.


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 Cir. 1990); Ethicon LLC v. Intuitive Surgical, 2018 WL 1392341, at *3 (D. Del. Feb. 12, 2018);
 Hologram USA, Inc. v. Pulse Evolution Corp., 2015 WL 13238450, at *4 (D. Nev. Dec. 18, 2015)
           carte blanche                                                            . Plaintiffs
 cases regarding                            Adv. Display and Georgetown Rail) are inapposite.
 Neither addresses production of regulatory files, let alone unaccused products.
                                                                                      The question of
 burden rests on what is required to produce the material and must be weighed against relevance.
 Moderna has at least 35 pipeline products currently in clinical development, each with at least
 one IND. Ex. E. Moderna would need to review each document to assign a confidentiality level
 and separately confirm whether they contain third-party confidential information requiring third-
 party notice or consent for production, which Plaintiffs have relied on to refuse discovery. Ex. F
 at 4 (                                  ). Plaintiffs cite no precedent for their request for all of
                  . Their (at best) speculative relevance basis cannot justify this undue burden.
         OUS Discovery. First, Plaintiffs ignore black-letter law. Courts consistently note the
                                                                              Halo Elecs., Inc. v. Pulse
 Elecs., Inc., 831 F.3d 1369, 1376 (Fed. Cir. 2016) (no direct infringement because OUS products
                                                                        Cal. Inst. of Tech. v. Broadcom
 Ltd., 25 F.4th 976, 992-                           dispute that [U.S. infringement] laws apply only
                  Carnegie Mellon Univ. v. Marvell Tech. Grp., Ltd., 807 F.3d 1283, 1310-11 (Fed.
 Cir. 2015) (vacating damages for products not made, used in, or imported into U.S.); 35 U.S.C.
 § 271(a). Plaintiffs do not and cannot deny that activities occurring wholly outside the U.S.
                                                                                       speculation alone
 is enough to require Moderna to provide voluminous, burdensome discovery just so Plaintiffs can
                         -                                         Yet by demanding this production,
 Plaintiffs are effectively shifting their burden onto Moderna to prove that OUS activity is not
 actually OUS.                     is not proportional to the needs of the case. For example, Moderna
 OUS contracts,

          for which would take months.
                                                                                                 and
 intervene if warranted. Requiring Moderna to undergo this exercise hundreds of times is a burden
 that is not outweighed by any likely benefit. If Plaintiffs were correct, every case would open up
 defendants to worldwide discovery without a shred
 are U.S. sales. Doing so would extend the scope of §
                                                                          Halo, 831 F.3d at 1379.
        Second, Plaint
 contention, Moderna already provided discovery about OUS batches that were subsequently
 imported into the U.S. as well as U.S. manufactured batches released for distribution abroad. Ex.
 G; Ex. H.

 requests. Nor is their quest for information that objectively cannot be infringement a valid basis.
 Kajeet, Inc. v. Qustodio, LLC, 2019 WL 8060078, at *13 (C.D. Cal. Oct. 22, 2019) (denying

       Tessera, Inc. v. Broadcom Corp., 2017 WL 4876215, at *1 (D. Del. Oct. 24, 2017) (denying



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         Third,                 -shifting positions on OUS discovery is untenable. Ex. 11, Ex. 14;
 Ex. I; Ex. G. After loosely raising the issue in May, Plaintiffs ignored it until November. Ex. 11 at
 11; Ex. J at 4; Ex. P at 6. Then Plaintiffs pivoted from seeking all OUS analytical data to all OUS

                                                                                            discovery

 shifting positions are the definition of a fishing expedition. Apex Fin. Options, LLC v. Gilbertson,
 2021 WL 5206104, at *2 (D. Del. Nov. 9, 202
                         -19 vaccine wholly manufactured and used OUS should be denied.
        Board Materials. This unripe dispute should be denied Moderna has not refused to
 produce Board documents. Moderna offered                -privileged Board documents which


 premature motion. Indeed, just one day before filing, Plaintiffs for the first time confirmed that
 they possess Board documents, indicating both parties were still investigating these requests. 4
         Moderna offered a scope of documents focused on issues relevant to this litigation the
 lipid molar ratio of the Accused Product (the subject of the Asserted Patents). Contrary to
                                                                             of RFP No. 130 because
 it essentially demands all                                                all
 COVID-
                                 O at 2. For example, clinical trial information is irrelevant because
 the asserted claims are not to methods of use.
 is burdensome, and courts have denied such broad requests. Osucha v. Alden State Bank, 2020 WL
 3055790, *6
                                                        Moderna proposed a compromise to reduce
 scope and burden which Plaintiffs ignored permitting relevance redactions for Board
 documents
 sensitivity in certain circumstances. Ex. F at 2. To the extent the Court orders the parties to
 produce certain Board Materials, courts have permitted redactions
                                       Holley v. Gilead Scis., Inc., 2020 WL 2097602, at *3 (N.D.
 Cal. May 1, 2020), and Moderna would request such redactions be permitted here.
        Moderna respectfully requests that the Court d


 3
                                     McGinley

 whether sales occurred in U.S.); Apeldyn, 2010 WL 11470585, at *1
                                                                                   Positive Techs.,
 2013 WL 707914, at *4 (denying protective order barring discovery of sales information for non-
 accused accessories and services sold with accused e-readers on the basis of convoyed sales).
 4
   Moreover, Plaintiffs and Roivant have likewise refused to produce Board documents requested
 by Moderna, including documents related to the Asserted Patents that are highly relevant. Roivant
 is not a disinterested third-party as Plaintiffs suggest; it
                                              Ex. K at 5; Exs. L-N.


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                                           Respectfully,

                                           /s/ Travis J. Murray

                                           Travis J. Murray (#6882)

 TJM:lo
 Enclosures
 cc:    All Counsel of Record (via CM/ECF and electronic mail)




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